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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

NATIONAL ASSOCIATION OF MUTUAL                        )
INSURANCE COMPANIES,                                  )
                                                      )
               Plaintiff,                             )
                                                      )
       v.                                             )      No. 1:13-cv-00966 (RJL)
                                                      )
UNITED STATES DEPARTMENT OF                           )
HOUSING AND URBAN DEVELOPMENT,                        )
et al.,                                               )
                                                      )
               Defendants.                            )
                                                      )

                                   JOINT STATUS REPORT

       Plaintiff, National Association of Mutual Insurance Companies (“NAMIC”), and

Defendants, Secretary Benjamin Carson and the United States Department of Housing and Urban

Development (“HUD”), submit this joint status report as directed by the Court’s August 18, 2020

Minute Order. The parties have conferred regarding the appropriate next steps in this case and

jointly propose to continue the stay in this case for 91 days, or until December 14, 2020.

       Plaintiff asserts a challenge under the Administrative Procedure Act to the application of

HUD’s 2013 Rule, entitled Implementation of the Fair Housing Act’s Discriminatory Effects

Standard, 78 Fed. Reg. 11460 (Feb. 15, 2013) (A.R. 611) (“the 2013 Rule”), to risk-based pricing

and underwriting of homeowners, property, and hazard insurance. On June 20, 2018, HUD

published an Advance Notice of Proposed Rulemaking (“ANPRM”), inviting public comment on

possible amendments to the Rule, as well as on the 2016 supplement to HUD’s responses to certain

insurance industry comments made during the initial rulemaking. See Reconsideration of HUD’s

Implementation of the Fair Housing Act’s Disparate Impact Standard, 83 Fed. Reg. 28560 (June

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20, 2018). Based on its consideration of public comments, HUD published a Notice of Proposed

Rulemaking (“NPRM”) on August 19, 2019. See HUD’s Implementation of the Fair Housing

Act’s Disparate Impact Standard, 84 Fed. Reg. 42854 (Aug. 19, 2019). The NPRM provided for

a public comment period, which closed on October 18, 2019. See id.

       HUD received 45,757 public comments in response to the NPRM.                              See

https://www.regulations.gov/docket?D=HUD-2019-0067.             After carefully considering the

numerous public comments it received in response to the NPRM, HUD submitted a draft rule to the

Office of Information and Regulatory Affairs (“OIRA”) on May 7, 2020, for inter-agency review

and consultation.      See https://www.reginfo.gov/public/do/eoDetails?rrid=130489.           OIRA

completed its review, and HUD issued a final rule on September 3, 2020, which is pending

publication in the Federal Register. See https://www.hud.gov/sites/dfiles/ENF/documents/6111-

F-03%20Disparate%20Impact%20Final%20Rule%209-3-20%20FOR%20POSTING.pdf.                         Once

published in the Federal Register, the rule will become effective 30 days later. The rule and

preamble, including HUD’s response to the numerous public comments it received, is 171 pages.

       Plaintiff is currently reviewing the rule and considering how to proceed in this matter.

Given the length of the rule, and to allow the parties time to confer once Plaintiff has had an

opportunity to consider the rule, the parties believe that this case should continue to be stayed for

91 days, or until December 14, 2020, on which date the parties propose to file a joint status report,

proposing any next steps in this case.

       A proposed order consistent with this motion is attached.

Date: September 14, 2020                             Respectfully submitted,


Kannon K. Shanmugam (#474304)                        JEFFREY BOSSERT CLARK

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